Case 1:20-cv-00613-LPS Document 107 Filed 02/10/22 Page 1 of 6 PageID #: 2592




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

THOMSON REUTERS ENTERPRISE                     )
CENTRE GMBH and WEST PUBLISHING                )
CORPORATION,                                   )
                                               )
                                               )
                      Plaintiffs and           )   C.A. No. 20-613 (LPS)
                      Counterdefendants,       )
                                               )
       v.                                      )
                                               )
ROSS INTELLIGENCE INC.,                        )
                                               )
                      Defendant and            )
                      Counterclaimant.         )


                       NOTICE OF DEPOSITION SUBPOENA TO
                             CHARLES VON SIMSON

       PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure Rules 30

and 45, Plaintiffs and Counterdefendants Thomson Reuters Enterprise Centre GmbH (“Thomson

Reuters”) and West Publishing Corporation (“West”) (collectively “Plaintiffs”) will subpoena

Charles Von Simson (“Von Simson”) to testify at a deposition pursuant to the attached subpoena

on March 17, 2022 at 9:00 am ET by electronic means.
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February 10, 2022




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XW!266X2X6W2XV22Z62XV2X2XV2X6y66W8     5=6{JGI|INOF}EIgIJMOMFDEF}EDSMfSIDNT
Z62x62V2626X76W26X62Z626X6X22Z62V6266W2X         5]6«U£U026X2[ZZW!266W2XV
V62X2^2W26X2Z626226X76W8222x622VW6Y    W6X22V2Z222X76!6W2X2x622X622X­X6X
Z62[!2X62\                                                      V6X2V\
      5/6022V6Y22622Z62VVW6W26XY2Z626X7!2X           5/66cX62Vw62Z62V2̀W
V2V762Z62X2X2Z62WX2[Z6X62V622X6yX6W2X2              5//6W6X62Z62X622Z62[ZZ6W2WV6Y2VVY2X
XW6X2V6!2XW2X268                                      !62Z!222V6X2ZY2[Z2X676!2XV26
      5//6Z6622V262X6yX6W222WX66W22Z62XW6XY2W2Z6     X76!6W2X2X66WY2[2662Z62X62262Z62V8
XW6X2V2X6226X2[Z226Z6X22X2X22Xb26X2XV     5a6«UU2XV2XW6W22X6622
!26c662X6!2XV2V68                                  622x6222V22X76!62X22X62
                                                                                X­X6X2V6XY2Z626X2Vw!2Z62V2V222X
  5?6qGReINOFDEF~DoIhINOFGFvqQDMNGT                                          Z2X6676W2Z62XV22Z62V2W2Z622X28206X26!
                                                                                6WY22X2V2XV2X6XY26y66XY2X2W6X2Z6266W
    5]6UU12V62VY2Z62X2X2Z62WX2[Z6X6         XV2W22622Z2̀V2262X2W62Z62XV
V622X6yX6W2V2yZ2X2VW2262Z\                    2Z62V22X676W2̀V2w62X662622X6X6762Z6
                                                                                XV22Z62X2W6W226X626!26W2̀W2V2XV
      5/622[22X662V622V`                            X662Z62XV2W6X2622Z62X2X2Z62WX2[Z6X6
      5//6X6yX6226X22V26W2Z62!6!XZ2V            V622X6yX6W2X22W66XV22Z62V82Z626X2[Z
66W225624`                                                        XW6W2Z62XV2V2X66X762Z62XV22Z62V2
      5///6X6yX62WX622X76!6W2X2Z6X2X66W2V6XY22   X676W8
6c62X2[76X262̀X
      5/06x6226X22W62XW68                                    596.,8;$@A;B
   5a6UU2X6226X2x622X266W22            Z62X2X2Z62WX2[Z6X62V622X6yX6WzW2Y26X2
6Y2Z62X2X2Z62WX2[Z6X62V622X6yX6W2VY2       V22X6XX6WY2Z62!2XzV2ZW226V226X
VY2yZ2X2VW2Z626222X6yX6\                            [ZY2Z7!26626X76WY22[Z2W6y626c62262Z6
                                                                                62X22XW6X2X66W228
                                      ®X262262V6XY2662®6W825827828242VV662̄624_^"8
Case 1:20-cv-00613-LPS Document 107 Filed 02/10/22 Page 6 of 6 PageID #: 2597




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on February

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